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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION




MOLES,                                         )      JUDGE DONALD C. NUGENT
                                               )
               Plaintiff,                      )      CASE NO. 1:25 CV 1008
                                               )
       v.                                      )      ORDER OF REFERRAL
                                               )
SMITH, ET AL.,                                 )
                                               )
                                               )
               Defendants.                     )



       The above captioned case is hereby referred to Magistrate Judge Reuben J.

Sheperd for pretrial supervision. The Magistrate Judge is hereby authorized to: (1)

oversee service of the Complaint and orders of the Court; (2) conduct a Case

Management Conference and Status Hearing; (3) enter and enforce non-dispositive

pretrial orders including, but no limited to, orders pertaining to discovery matters; (4) sign

all stipulated orders; and, (5) rule on all non-dispositive motions. The Magistrate Judge

shall also (6) “issue any preliminary orders and conduct any necessary evidentiary hearing

or other appropriate proceeding,” Local Rule 72.1, and file with the Court a report

containing proposed findings and recommendation for disposition of case-dispositive
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motions. The Court reserves the right to rule directly on any matter filed in the within

matter.

          This case shall be returned to this Court when ready for trial unless all parties

consent to trial before Magistrate Judge Sheperd.

          IT IS SO ORDERED.

                                                         /s/ Donald C. Nugent
                                                         DONALD C. NUGENT
                                                         United States District Judge

DATE: June 13, 2025
